
652 So. 2d 328 (1994)
Ex parte Levi PACE.
(Re Levi Pace v. State of Alabama).
1931449.
Supreme Court of Alabama.
December 22, 1994.
Raymond Johnson, Montgomery, for petitioner.
James H. Evans, Atty. Gen., for respondent.
Prior report: 652 So. 2d 321.
HORNSBY, Chief Justice.
The petition for writ of certiorari is denied. In denying the petition for writ of certiorari, this Court should not be understood as approving the reasoning in the Court of Criminal Appeals' opinion. Horsley v. Horsley, 291 Ala. 782, 280 So. 2d 155 (1973). This Court's denial of certiorari review is not an expression of its opinion on the merits of a *329 case. Ex parte Cason, 515 So. 2d 725 (Ala. 1987).
WRIT DENIED.
MADDOX, ALMON, HOUSTON and KENNEDY, JJ., concur.
